Case 2:04-cr-20085-BBD Document 34 Filed 05/31/05 Page 1 of 2 Page|D 33

 
  

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FOR THE WEsTERN DisTRlcT oF TENNEssEE 95 F.,\, , n
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UN|TED STATES OF AMER|CA trA o r:‘l mr r-;.=:Er~..terrrs
P|aintiff l
VS.
CR. NO. 04-20085-D
DAV|D PAGE
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on |\/lay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
report date of Thursdav. Ju|v 21. 2005. at 9:00 a.m., in Courtroom 3. ch F|oor of the
Federa| Bui|ding, |V|emphis, TN.

The period from June 17, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT ls so oRDERED this ig day of May, 2005.

     
 

E B. ONALD
|TED STATES DISTR|CT JUDGE

ims document entered on the docket sheet in nomp!mn¢n

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20085 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

